                              UNITED STATES DISTRICT COURT | ., , , , ,,
                             EASTERN DISTRICT OF WISCONSIN
                                                                                   JUL 15 2021
EQUAL EMPLOYMENT OPPORTUNITY COMMISSION, | ^,

                       Plaintiff,

               v.       Case                No.           17-C-70


WAL-MART STORES EAST LP,

                       Defendant.



                                      SPECIAL VERDICT


        We the jury, for our Special Verdict, answer the questions submitted to us as follows:


        Question 1. During the time of her employment with Walmart, was Marlo Spaeth a
qualified person with a disability?

        ANSWER: Yes X No
                         T^
        If you answered "Yes" to Question 1, then answer Question 2. If you answered "No" to
Question 1, do not answer any other questions.



        Question 2. Was Walmart aware that Marlo Spaeth needed an accommodation due to her
disability?

                        ^
       ANSWER: Yes J\, No

       If you answered "Yes " to Question 2, then answer Question 3. If you answered "No " to
Question 2, then proceed to Question 5.



       Question 3. Did Walmart fail to provide IVIarlo Spaeth with a reasonable accommodation?


       ANSWER: Yes ^ No
                        T^~
       If you answered "Yes" to Question 3, then answer Question 4. If you answered "No" to
Question 3, proceed to Question 5.




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        Question 4. Would providing Marlo Spaeth an accommodation have posed an undue
hardship to Walmart's business?


       ANSWER: Yes No

        Continue to Question 5.



       Question 5. Did Walmart violate the Americans with Disabilities Act by terminating
Marlo Spaeth because of her disability?

       ANSWER: Yes 7\ No
                          T
       Continue to Question 6.



       Question 6. Did Walmart violate the Americans with Disabilities Act by failing to
reinstate Marlo Spaeth because of her disability?


       ANSWER: Yes f-- No


       If you answered "Yes" to Question 3 and "No" to Question 4 or "Yes" to either Question
5 or 6, then answer Question 7. If you anwered "No " to Questions 3, 5 and 6, then do not answer
any more questions.




       Question 7. What sum of money will fairly and reasonably compensate Marlo Spaeth for
her emotional pain and mental anguish?


       ANSWER: $ !60ff)DO         s



       Continue to Question 8.



       Question 8. What amount, if any, do you award as punitive damages?


       ANSWER: $ { ZC3 , DDO / (DO
                      \tc' m^iio,.-,


       Dated at Green Bay, Wisconsin this j S day of July, 2021.

                                                               1^
                                                    Jury Foreperson




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